884 F.2d 1388Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Wister KING, Jr., Plaintiff-Appellant,v.J. DUNN, Edward W. Murray, W.D. Blankenship, J.A. Hubbard,Defendants-Appellees.
    No. 89-6681.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 30, 1989.Decided Aug. 29, 1989.
    
      Wister King, Jr., appellant pro se.
      Eric Karl Gould Fiske, Office of the Attorney General of Virginia, for appellees.
      Before SPROUSE and CHAPMAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Wister King, Jr. appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  King v. Dunn, C/A No. 88-225-R (W.D.Va. May 31, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the material before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    